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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
VIVIANA MALDONADO and JORGE      )
RODRIGUEZ, individually, and as co-
                                 )                              FILED: OCTOBER 27, 2008
special administrators and co-special
                                 )                              08CV6141
representatives of the estate of Stephanie
                                 )                              JUDGE HIBBLER
Rodriguez, Deceased              )                              MAGISTRATE JUDGE NOLAN
                                 )
                                                                CH
                   Plaintiffs,   )
                                 )
                                                   No.
                v.               )
                                 )
                                                   Formerly Case No. 05 L 1091, Circuit Court
MOUNT SINAI HOSPITAL MEDICAL     )
                                                   of Cook County, Illinois.
CENTER OF CHICAGO; ACCESS        )
COMMUNITY HEALTH NETWORK d/b/a )
HAWTHORNE FAMILY HEALTH          )
CENTER; THE UNITED STATES OF     )
AMERICA; MARLENE O. GREEN, M.D.; )
IBRAHAM DOGAN, M.D. and CLARA    )
LOPEZ, R.N.,                     )
                                 )
                    Defendants.  )


                       NOTICE OF REMOVAL OF A CIVIL ACTION

TO:    Dorothy Brown                  Jeffrey M. Goldberg           Cunnigham Meyer Vedrine
       Clerk of the Circuit Court      Law Offices                  4200 Cantera, Dr. #112
        of Cook County                20 N. Clark, Suite 3100       Warrenville, Illinois 60555
       Room # 602                     Chicago, Illinois 60602
       Richard J. Daley Center
       Chicago, Illinois 60602

       Donohue Brown Mathewsons
       140 South Dearborn, Suite 700
       Chicago, Illinois 60603

       The United States of America, by its attorney, Patrick J. Fitzgerald, United States Attorney

for the Northern District of Illinois, pursuant to 28 U.S.C. § 2679(d)(2) and 42 U.S.C. § 233,

submits this notice of removal of the above-captioned civil action from the Circuit Court of Cook
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County, Illinois, County Department, Law Division, to the United States District Court for the

Northern District of Illinois, and in support thereof, states the following

        1.      On September 25, 2008, plaintiffs commenced the above civil action against Access

Community Health Network d/b/a Hawthorne Family Health Center and Marlene Green, M.D.,

alleging a proportionate share of liability for plaintiff’s injuries. Copies of all process, pleadings and

orders served upon the third party defendants are attached pursuant to 28 U.S.C. § 1446(a) as Exhibit

A.

        2.      This notice of removal is filed in accordance with 28 U.S.C. § 2679(d) and 42 U.S.C.

§ 233, upon certification by the designee of the Attorney General of the United States, that the third

party defendants were acting within the scope of their employment as federal government employees

at the time of the incident out of which the claim arose. See Certification attached as Exhibit B.

        3.      Notice of removal may be filed without bond at any time before trial. 28 U.S.C.

§ 2679(d)(2). Trial has not yet been had in this action.

        4.      Pursuant to the Certification by the Attorney General’s designee and the filing of this

notice of removal, this civil action shall be deemed an action against the United States under

28 U.S.C. § 2679 and 42 U.S.C. § 233, and the United States shall be substituted as the party third

party defendants in lieu of Access Community Health Network d/b/a Hawthorne Family Health

Center and Marlene Green, M.D.

        WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois is

properly removed to this court pursuant to 28 U.S.C. § 2679(d) and 42 U.S.C. § 233, and the United




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States is substituted as defendant in lieu of Access Community Health Network d/b/a Hawthorne

Family Health Center and Marlene Green, M.D.

                                          Respectfully submitted,

                                          PATRICK J. FITZGERALD
                                          United States Attorney

                                          By: s/ Eileen M. Marutzky
                                             EILEEN M. MARUTZKY
                                             Assistant United States Attorney
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                                             Chicago, Illinois 60604
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                                    CERTIFICATE OF SERVICE


       Eileen M. Marutzky hereby certifies that on October 27, 2008, she caused a copy of: NOTICE

OF REMOVAL OF A CIVIL ACTION to be placed in a postage-paid envelope addressed to the

following named individual(s) and deposited in the United States mail in the United States Courthouse,

Chicago, Illinois.

TO:    Dorothy Brown                  Jeffrey M. Goldberg          Cunnigham Meyer Vedrine
       Clerk of the Circuit Court      Law Offices                 4200 Cantera Dr., #112
        of Cook County                20 N. Clark, Suite 3100      Warrenville, Illinois 60555
       Room # 602                     Chicago, Illinois 60602
       Richard J. Daley Center
       Chicago, Illinois 60602

       Donohue Brown Mathewsons
       140 South Dearborn, Suite 700
       Chicago, Illinois 60603


                                                 s/ Eileen M. Marutzky
                                                 EILEEN M. MARUTZKY
                                                 Assistant United States Attorney




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